 AO 245D       Judgment
                   Case in a 3:18-cr-00033-CAR-CHW
                             Criminal Case for Revocations      Document 108             Filed 04/02/25            Page 1 of 2
(Rev. 12/19)   Sheet 1



                                 UNITED STATES DISTRICT COURT
                                                   Middle District of Georgia
         UNITED STATES OF AMERICA                                   Judgment in a Criminal Case
                    v.                                              (For Revocation of Probation or Supervised Release)


                   TYLER COWAN                                      Case No. 3:18-CR-33-CAR-CHW
                                                                    USM No. 00861-120
                                                                    M ERIC EBERHARDT
                                                                                            Defendant’s Attorney
THE DEFENDANT:
☒ admitted guilt to violation of condition(s)     1-8                               of the term of supervision.

☐ was found in violation of condition(s)                                        after denial of guilt.
The defendant is adjudicated guilty of these violations:


Violation Number                    Nature of Violation                                                     Violation Ended
1                                   Failure to report                                                       7/3/2024
2                                   Failure to obtain approval for travel outside of the MD/GA              7/31/2024
3                                   Failure to refrain from violation of the law                            7/31/2024
4                                   Failure to refrain from violation of the law                            7/31/2024
5                                   Failure to refrain from violation of the law                            7/31/2024
6                                   Failure to refrain from violation of the law                            7/31/2024
7                                   Failure to refrain from violation of the law                            7/31/2024
8                                   Failure to refrain from usage of a controlled substance                 7/16/2024

       The defendant is sentenced as provided in pages 2 through        2       . The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
☐ The defendant has not violated condition(s)                                    and is discharged as to such violation(s) condition.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment
are fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in
economic circumstances.

Last Four Digits of Defendant’s Soc. Sec.     0341                                            March 25, 2025
                                                                                       Date of Imposition of Judgment
Defendant’s Year of Birth: 1990
                                                                                            s/ C. Ashley Royal
City and State of Defendant’s Residence:                                                      Signature of Judge
Dry Branch, Georgia                                                 C. ASHLEY ROYAL
                                                                    SENIOR UNITED STATES DISTRICT JUDGE
                                                                                           Name and Title of Judge

                                                                                                04/02/2025
                                                                                                     Date
AO 245D       Judgment
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                            Criminal Case for Revocations           Document 108              Filed 04/02/25           Page 2 of 2
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                                                                                                     Judgment — Page     2       of   2
 DEFENDANT: TYLER COWAN
 CASE NUMBER: 3:18-CR-00033-CAR-CHW(2)

                                                             IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
 term of : 12 months as to Count One.



      ☐           The court makes the following recommendations to the Bureau of Prisons:




      ☒           The defendant is remanded to the custody of the United States Marshal.

      ☐           The defendant shall surrender to the United States Marshal for this district:

              ☐        at                          ☐     a.m.      ☐   p.m.        on                                        .

              ☐        as notified by the United States Marshal.

      ☐           The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

              ☐        before 2 p.m. on                                  .

              ☐        as notified by the United States Marshal.

              ☐        as notified by the Probation or Pretrial Services Office.

                                                                   RETURN

 I have executed this judgment as follows:




          Defendant delivered on                                                        to

 at                                                 with a certified copy of this judgment.


                                                                                                  UNITED STATES MARSHAL

                                                                         By
                                                                                             DEPUTY UNITED STATES MARSHAL
